  Case 1:19-cv-01290-CFC Document 1 Filed 07/10/19 Page 1 of 13 PageID #: 1




                             UNITED STATES DISTRICT COURT
                                DISTRICT OF DELAWARE

 MARCY C. CURTIS, Individually and On                )
 Behalf of All Others Similarly Situated,            )
                                                     )
                         Plaintiff,                  )   Case No. ______________
                                                     )
         v.                                          )   JURY TRIAL DEMANDED
                                                     )
 TABLEAU SOFTWARE, INC., ADAM                        )   CLASS ACTION
 SELIPSKY, BILLY BOSWORTH, BROOKE                    )
 SEAWELL, CHRISTIAN CHABOT,                          )
 CHRISTOPHER STOLTE, ELLIOTT                         )
 JURGENSEN, JR., GERRI MARTIN-                       )
 FLICKINGER, HILARIE KOPLOW-                         )
 MCADAMS, JOHN MCADAM, PATRICK                       )
 HANRAHAN, SALESFORCE.COM, INC.,                     )
 and SAUSALITO ACQUISITION CORP.,                    )
                                                     )
                         Defendants.                 )
                                                     )

   COMPLAINT FOR VIOLATION OF THE SECURITIES EXCHANGE ACT OF 1934

       Plaintiff, by her undersigned attorneys, for this complaint against defendants, alleges upon

personal knowledge with respect to herself, and upon information and belief based upon, inter

alia, the investigation of counsel as to all other allegations herein, as follows:

                                      NATURE OF THE ACTION

       1.      This action stems from a proposed transaction announced on June 10, 2019 (the

“Proposed Transaction”), pursuant to which Tableau Software, Inc. (“Tableau” or the “Company”)

will be acquired by salesforce.com, inc. (“Parent”) and Sausalito Acquisition Corp. (“Merger Sub,”

and together with Parent, “salesforce.com”).

       2.      On June 9, 2019, Tableau’s Board of Directors (the “Board” or “Individual

Defendants”) caused the Company to enter into an agreement and plan of merger (the “Merger

Agreement”) with salesforce.com. Pursuant to the terms of the Merger Agreement, Merger Sub
  Case 1:19-cv-01290-CFC Document 1 Filed 07/10/19 Page 2 of 13 PageID #: 2




commenced an exchange offer (the “Offer”) to acquire all of Tableau’s outstanding Class A and

Class B common stock for 1.103 shares of Parent common stock per share of Tableau. The Offer

is scheduled to expire on July 31, 2019.

       3.      On July 3, 2019, defendants filed a Solicitation/Recommendation Statement (the

“Solicitation Statement”) with the United States Securities and Exchange Commission (“SEC”) in

connection with the Proposed Transaction.

       4.      The Solicitation Statement omits material information with respect to the Proposed

Transaction, which renders the Solicitation Statement false and misleading. Accordingly, plaintiff

alleges herein that defendants violated Sections 14(e), 14(d), and 20(a) of the Securities Exchange

Act of 1934 (the “1934 Act”) in connection with the Solicitation Statement.

                                 JURISDICTION AND VENUE

       5.      This Court has jurisdiction over all claims asserted herein pursuant to Section 27 of

the 1934 Act because the claims asserted herein arise under Sections 14(e), 14(d), and 20(a) of the

1934 Act and Rule 14a-9.

       6.      This Court has jurisdiction over defendants because each defendant is either a

corporation that conducts business in and maintains operations within this District, or is an

individual with sufficient minimum contacts with this District so as to make the exercise of

jurisdiction by this Court permissible under traditional notions of fair play and substantial justice.

       7.      Venue is proper under 28 U.S.C. § 1391 because a substantial portion of the

transactions and wrongs complained of herein occurred in this District.

                                             PARTIES

       8.      Plaintiff is, and has been continuously throughout all times relevant hereto, the

owner of Tableau common stock.




                                                  2
  Case 1:19-cv-01290-CFC Document 1 Filed 07/10/19 Page 3 of 13 PageID #: 3




       9.      Defendant Tableau is a Delaware corporation and maintains its principal executive

offices at 1621 North 34th Street, Seattle, Washington 98103. Tableau’s common stock is traded

on the New York Stock Exchange under the ticker symbol “DATA.” Tableau is a party to the

Merger Agreement.

       10.     Defendant Adam Selipsky is President, Chief Executive Officer, and a director of

the Company.

       11.     Defendant Bill Bosworth is a director of the Company.

       12.     Defendant Brooke Seawell is a director of the Company.

       13.     Defendant Christian Chabot is co-founder and Chairman of the Board of the

Company.

       14.     Defendant Christopher Stolte is co-founder and a director of the Company.

       15.     Defendant Elliott Jurgensen, Jr. is a director of the Company.

       16.     Defendant Gerri Martin-Flickinger is a director of the Company.

       17.     Defendant Hilarie Koplow-McAdams is a director of the Company.

       18.     Defendant John McAdam is a director of the Company.

       19.     Defendant Patrick Hanrahan is a director of the Company.

       20.     The defendants identified in paragraphs 10 through 19 are collectively referred to

herein as the “Individual Defendants.”

       21.     Defendant Parent is a Delaware corporation and a party to the Merger Agreement.

       22.     Defendant Merger Sub is a Delaware corporation, a wholly-owned subsidiary of

Parent, and a party to the Merger Agreement.

                              CLASS ACTION ALLEGATIONS

       23.     Plaintiff brings this action as a class action on behalf of herself and the other public




                                                  3
  Case 1:19-cv-01290-CFC Document 1 Filed 07/10/19 Page 4 of 13 PageID #: 4




stockholders of Tableau (the “Class”). Excluded from the Class are defendants herein and any

person, firm, trust, corporation, or other entity related to or affiliated with any defendant.

        24.     This action is properly maintainable as a class action.

        25.     The Class is so numerous that joinder of all members is impracticable. As of June

6, 2019, there were approximately 76,916,180 shares of Tableau common stock outstanding, held

by hundreds, if not thousands, of individuals and entities scattered throughout the country.

        26.     Questions of law and fact are common to the Class, including, among others,

whether defendants will irreparably harm plaintiff and the other members of the Class if

defendants’ conduct complained of herein continues.

        27.     Plaintiff is committed to prosecuting this action and has retained competent counsel

experienced in litigation of this nature. Plaintiff’s claims are typical of the claims of the other

members of the Class and plaintiff has the same interests as the other members of the Class.

Accordingly, plaintiff is an adequate representative of the Class and will fairly and adequately

protect the interests of the Class.

        28.     The prosecution of separate actions by individual members of the Class would

create the risk of inconsistent or varying adjudications that would establish incompatible standards

of conduct for defendants, or adjudications that would, as a practical matter, be dispositive of the

interests of individual members of the Class who are not parties to the adjudications or would

substantially impair or impede those non-party Class members’ ability to protect their interests.

        29.     Defendants have acted, or refused to act, on grounds generally applicable to the

Class as a whole, and are causing injury to the entire Class. Therefore, final injunctive relief on

behalf of the Class is appropriate.




                                                  4
  Case 1:19-cv-01290-CFC Document 1 Filed 07/10/19 Page 5 of 13 PageID #: 5




                              SUBSTANTIVE ALLEGATIONS

Background of the Company and the Proposed Transaction

       30.     Tableau’s self-service analytics platform empowers people of any skill level to

work with data.

       31.     From individuals and non-profits to government agencies and the Fortune 500, tens

of thousands of customers around the world use Tableau to get rapid insights and make impactful,

data-driven decisions.

       32.     On June 9, 2019, Tableau’s Board caused the Company to enter into the Merger

Agreement.

       33.     Pursuant to the terms of the Merger Agreement, Merger Sub commenced the Offer

to acquire all of the Company’s outstanding Class A and Class B common stock for 1.103 shares

of Parent common stock per share of Tableau.

       34.     According to the press release announcing the Proposed Transaction:

       Salesforce (NYSE:CRM), the global leader in CRM, and Tableau Software (NYSE:
       DATA), the leading analytics platform, have entered into a definitive agreement
       under which Salesforce will acquire Tableau in an all-stock transaction, pursuant
       to which each share of Tableau Class A and Class B common stock will be
       exchanged for 1.103 shares of Salesforce common stock, representing an enterprise
       value of $15.7 billion (net of cash), based on the trailing 3-day volume weighted
       average price of Salesforce’s shares as of June 7, 2019. . . .

       Details Regarding the Proposed Tableau Acquisition

       Salesforce and Tableau have entered into a definitive agreement under which
       Salesforce will acquire Tableau in an all-stock transaction, pursuant to which each
       share of Tableau Class A and Class B common stock will be exchanged for 1.103
       shares of Salesforce common stock, representing an enterprise value of $15.7
       billion (net of cash), based on the trailing 3-day volume weighted average price of
       Salesforce’s shares as of June 7, 2019. The transaction is intended to be tax free for
       Tableau stockholders (except with respect to cash for fractional shares).

       The transaction has been approved by the boards of directors of both companies.




                                                 5
  Case 1:19-cv-01290-CFC Document 1 Filed 07/10/19 Page 6 of 13 PageID #: 6




        Under the terms of the transaction, Salesforce will commence an exchange offer to
        acquire all of the outstanding shares of Tableau. The acquisition of Tableau is
        expected to be completed during Salesforce’s fiscal third quarter ending October
        31, 2019, subject to customary closing conditions, including the tender by Tableau
        stockholders of shares representing a majority of the Tableau common stock voting
        power, assuming all shares tendered or converted will be counted on a one-vote-
        per-share basis, and the receipt of regulatory approvals. Christian Chabot, Patrick
        Hanrahan and Christopher Stolte, the founders of Tableau, have all entered into an
        agreement with Salesforce in connection with the transaction, and have indicated
        that they intend to tender all of their shares in the exchange offer. . . .

        Advisors

        Bank of America Merrill Lynch is serving as exclusive financial advisor to
        Salesforce and Wachtell, Lipton, Rosen & Katz and Morrison & Foerster LLP are
        serving as legal counsel. Goldman Sachs & Co. LLC is serving as exclusive
        financial advisor to Tableau and Cooley LLP is serving as legal counsel.

The Solicitation Statement Omits Material Information, Rendering It False and Misleading

        35.     Defendants filed the Solicitation Statement with the SEC in connection with the

Proposed Transaction.

        36.     As set forth below, the Solicitation Statement omits material information with

respect to the Proposed Transaction, which renders the Solicitation Statement false and misleading.

        37.     First, the Solicitation Statement omits material information regarding the

Company’s and salesforce.com’s financial projections

        38.     With respect to the Company’s financial projections, the Solicitation Statement

fails to disclose, for each set of projections: (i) all line items used to calculate EBIT; (ii) all line

items used to calculate unlevered free cash flow; and (iii) a reconciliation of all non-GAAP to

GAAP metrics.

        39.     The Solicitation Statement also fails to disclose salesforce.com’s financial

projections.




                                                   6
  Case 1:19-cv-01290-CFC Document 1 Filed 07/10/19 Page 7 of 13 PageID #: 7




       40.     The disclosure of projected financial information is material because it provides

stockholders with a basis to project the future financial performance of a company, and allows

stockholders to better understand the financial analyses performed by the company’s financial

advisor in support of its fairness opinion.

       41.     Second, the Solicitation Statement omits material information regarding the

analyses performed by the Company’s financial advisor in connection with the Proposed

Transaction, Goldman Sachs & Co. LLC (“Goldman”).

       42.     With respect to Goldman’s Illustrative Discounted Cash Flow Analysis, the

Solicitation Statement fails to disclose: (i) the individual inputs and assumptions underlying the

discount rates ranging from 8.0% to 10.0% and the perpetuity growth rates ranging from 2.5% to

4.5%; (ii) the range of illustrative terminal values for Tableau; (iii) the net cash held by Tableau;

and (iv) the number of fully diluted outstanding shares of Tableau.

       43.     With respect to Goldman’s Precedent Premium Analysis, the Solicitation Statement

fails to disclose: (i) the transactions observed by Goldman in the analysis; and (ii) the premiums

paid in the transactions.

       44.     With respect to Goldman’s Public Comparables Analysis, the Solicitation

Statement fails to disclose the individual multiples and metrics for the companies observed by

Goldman in the analysis.

       45.     With respect to Goldman’s Present Value of Future Share Price Analysis —

Tableau Standalone, the Solicitation Statement fails to disclose: (i) Goldman’s basis for applying

a range of enterprise value to forward revenue multiples of 7.5x to 8.5x; (ii) estimated net cash;

(iii) the number of fully diluted outstanding shares of Tableau; and (iv) the individual inputs and

assumptions underlying the illustrative discount rate of 8.5%.




                                                 7
  Case 1:19-cv-01290-CFC Document 1 Filed 07/10/19 Page 8 of 13 PageID #: 8




       46.     When a banker’s endorsement of the fairness of a transaction is touted to

shareholders, the valuation methods used to arrive at that opinion as well as the key inputs and

range of ultimate values generated by those analyses must also be fairly disclosed.

       47.     Third, the Solicitation Statement fails to disclose the timing and nature of all

communications regarding the future employment and directorship of the Company’s officers and

directors, including who participated in all such communications.

       48.     Communications regarding post-transaction employment during the negotiation of

the underlying transaction must be disclosed to stockholders. This information is necessary for

stockholders to understand potential conflicts of interest of management and the Board, as that

information provides illumination concerning motivations that would prevent fiduciaries from

acting solely in the best interests of the Company’s stockholders.

       49.     The omission of the above-referenced material information renders the Solicitation

Statement false and misleading, including, inter alia, the following section of the Solicitation

Statement: The Solicitation or Recommendation.

       50.     The above-referenced omitted information, if disclosed, would significantly alter

the total mix of information available to the Company’s stockholders.

                                             COUNT I

          (Claim for Violation of Section 14(e) of the 1934 Act Against Defendants)

       51.     Plaintiff repeats and realleges the preceding allegations as if fully set forth herein.

       52.     Section 14(e) of the 1934 Act states, in relevant part, that:

       It shall be unlawful for any person to make any untrue statement of a material fact
       or omit to state any material fact necessary in order to make the statements made,
       in the light of the circumstances under which they are made, not misleading . . . in
       connection with any tender offer or request or invitation for tenders[.]




                                                  8
  Case 1:19-cv-01290-CFC Document 1 Filed 07/10/19 Page 9 of 13 PageID #: 9




       53.     Defendants disseminated the misleading Solicitation Statement, which contained

statements that, in violation of Section 14(e) of the 1934 Act, in light of the circumstances under

which they were made, omitted to state material facts necessary to make the statements therein not

misleading.

       54.     The Solicitation Statement was prepared, reviewed, and/or disseminated by

defendants.

       55.     The Solicitation Statement misrepresented and/or omitted material facts in

connection with the Proposed Transaction as set forth above.

       56.     By virtue of their positions within the Company and/or roles in the process and the

preparation of the Solicitation Statement, defendants were aware of this information and their duty

to disclose this information in the Solicitation Statement.

       57.     The omissions in the Solicitation Statement are material in that a reasonable

shareholder will consider them important in deciding whether to tender their shares in connection

with the Proposed Transaction. In addition, a reasonable investor will view a full and accurate

disclosure as significantly altering the total mix of information made available.

       58.     Defendants knowingly or with deliberate recklessness omitted the material

information identified above in the Solicitation Statement, causing statements therein to be

materially incomplete and misleading.

       59.     By reason of the foregoing, defendants violated Section 14(e) of the 1934 Act.

       60.     Because of the false and misleading statements in the Solicitation Statement,

plaintiff and the Class are threatened with irreparable harm.

       61.     Plaintiff and the Class have no adequate remedy at law.




                                                 9
 Case 1:19-cv-01290-CFC Document 1 Filed 07/10/19 Page 10 of 13 PageID #: 10




                                            COUNT II

              (Claim for Violation of 14(d) of the 1934 Act Against Defendants)

       62.     Plaintiff repeats and realleges the preceding allegations as if fully set forth herein.

       63.     Section 14(d)(4) of the 1934 Act states:

       Any solicitation or recommendation to the holders of such a security to accept or
       reject a tender offer or request or invitation for tenders shall be made in accordance
       with such rules and regulations as the Commission may prescribe as necessary or
       appropriate in the public interest or for the protection of investors.

       64.     Rule 14d-9(d) states, in relevant part:

       Any solicitation or recommendation to holders of a class of securities referred to in
       section 14(d)(1) of the Act with respect to a tender offer for such securities shall
       include the name of the person making such solicitation or recommendation and
       the information required by Items 1 through 8 of Schedule 14D-9 (§ 240.14d-101)
       or a fair and adequate summary thereof[.]

Item 8 requires that directors must “furnish such additional information, if any, as may be

necessary to make the required statements, in light of the circumstances under which they are

made, not materially misleading.”

       65.     The Solicitation Statement violates Section 14(d)(4) and Rule 14d-9 because it

omits the material facts set forth above, which renders the Solicitation Statement false and/or

misleading.

       66.     Defendants knowingly or with deliberate recklessness omitted the material

information set forth above, causing statements therein to be materially incomplete and

misleading.

       67.     The omissions in the Solicitation Statement are material to plaintiff and the Class,

and they will be deprived of their entitlement to make a fully informed decision with respect to the

Proposed Transaction if such misrepresentations and omissions are not corrected prior to the

expiration of the offer.



                                                 10
 Case 1:19-cv-01290-CFC Document 1 Filed 07/10/19 Page 11 of 13 PageID #: 11




       68.     Plaintiff and the Class have no adequate remedy at law.

                                            COUNT III

                     (Claim for Violation of Section 20(a) of the 1934 Act
                    Against the Individual Defendants and salesforce.com)

       69.     Plaintiff repeats and realleges the preceding allegations as if fully set forth herein.

       70.     The Individual Defendants and salesforce.com acted as controlling persons of

Tableau within the meaning of Section 20(a) of the 1934 Act as alleged herein. By virtue of their

positions as directors of Tableau and participation in and/or awareness of the Company’s

operations and/or intimate knowledge of the false statements contained in the Solicitation

Statement filed with the SEC, they had the power to influence and control and did influence and

control, directly or indirectly, the decision making of the Company, including the content and

dissemination of the various statements that plaintiff contends are false and misleading.

       71.     Each of the Individual Defendants and salesforce.com was provided with or had

unlimited access to copies of the Solicitation Statement alleged by plaintiff to be misleading prior

to and/or shortly after these statements were issued and had the ability to prevent the issuance of

the statements or cause them to be corrected.

       72.     In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of the Company, and, therefore, is presumed to have had

the power to control and influence the particular transactions giving rise to the violations as alleged

herein, and exercised the same.           The Solicitation Statement contains the unanimous

recommendation of the Individual Defendants to approve the Proposed Transaction. They were

thus directly connected with and involved in the making of the Solicitation Statement.

       73.     salesforce.com also had direct supervisory control over the composition of the

Solicitation Statement and the information disclosed therein, as well as the information that was



                                                  11
 Case 1:19-cv-01290-CFC Document 1 Filed 07/10/19 Page 12 of 13 PageID #: 12




omitted and/or misrepresented in the Solicitation Statement.

       74.     By virtue of the foregoing, the Individual Defendants and salesforce.com violated

Section 20(a) of the 1934 Act.

       75.     As set forth above, the Individual Defendants and salesforce.com had the ability to

exercise control over and did control a person or persons who have each violated Section 14(e) of

the 1934 Act and Rule 14a-9, by their acts and omissions as alleged herein. By virtue of their

positions as controlling persons, these defendants are liable pursuant to Section 20(a) of the 1934

Act.

       76.     As a direct and proximate result of defendants’ conduct, plaintiff and the Class are

threatened with irreparable harm.

       77.     Plaintiff and the Class have no adequate remedy at law.

                                    PRAYER FOR RELIEF

       WHEREFORE, plaintiff prays for judgment and relief as follows:

       A.      Enjoining defendants and all persons acting in concert with them from proceeding

with, consummating, or closing the Proposed Transaction;

       B.      In the event defendants consummate the Proposed Transaction, rescinding it and

setting it aside or awarding rescissory damages;

       C.      Directing the Individual Defendants to file a Solicitation Statement that does not

contain any untrue statements of material fact and that states all material facts required in it or

necessary to make the statements contained therein not misleading;

       D.      Declaring that defendants violated Sections 14(e), 14(d), and 20(a) of the 1934 Act,

as well as Rule 14a-9 promulgated thereunder;




                                                12
 Case 1:19-cv-01290-CFC Document 1 Filed 07/10/19 Page 13 of 13 PageID #: 13




       E.      Awarding plaintiff the costs of this action, including reasonable allowance for

plaintiff’s attorneys’ and experts’ fees; and

       F.      Granting such other and further relief as this Court may deem just and proper.

                                         JURY DEMAND

       Plaintiff hereby demands a trial by jury.

 Dated: July 10, 2019                                RIGRODSKY & LONG, P.A.

                                                By: /s/ Gina M. Serra
                                                    Brian D. Long (#4347)
 OF COUNSEL:                                        Gina M. Serra (#5387)
                                                    300 Delaware Avenue, Suite 1220
 RM LAW, P.C.                                       Wilmington, DE 19801
 Richard A. Maniskas                                Telephone: (302) 295-5310
 1055 Westlakes Drive, Suite 300                    Facsimile: (302) 654-7530
 Berwyn, PA 19312                                   Email: bdl@rl-legal.com
 Telephone: (484) 324-6800                          Email: gms@rl-legal.com
 Facsimile: (484) 631-1305
 Email: rm@maniskas.com                              Attorneys for Plaintiff




                                                   13
